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     United States Court of Appeals
         for the Federal Circuit
                     ______________________

                    KOSS CORPORATION,
                          Appellant

                                     v.

                    BOSE CORPORATION,
                            Appellee
                     ______________________

                           2022-2090
                     ______________________

   Appeal from the United States Patent and Trademark Office,
Patent Trial and Appeal Board in No. IPR2021-00297.

              -------------------------------------------------

                    KOSS CORPORATION,
                          Appellant

                                     v.

                    BOSE CORPORATION,
                         Cross-Appellant
                     ______________________

         2023-1173, 2023-1179, 2023-1180, 2023-1191
                  ______________________

    Appeals from the United States Patent and Trademark
Office, Patent Trial and Appeal Board in Nos. IPR2021-00612,
IPR2021-00680.
                     ______________________

                          JUDGMENT
                     ______________________

THIS CAUSE having been considered, it is

ORDERED AND ADJUDGED:
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DISMISSED

                                          FOR THE COURT




July 19, 2024
    Date
